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                               UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

  IN RE:                                          §   CHAPTER 11
                                                  §
  ROOFTOP GROUP INTERNATIONAL                     §   CASE NO. 19-43402-mxm11
  PTE. LTD,                                       §
                                                  §
            Debtor.                               §

              TRIUMPHANT GOLD LIMITED’S WITNESS AND EXHIBIT LIST
              REGARDING MATTERS TO BE HEARD ON SEPTEMBER 16, 2019
                              [Relates to Dkt No. 44]

           Pursuant to Local Rule 9014-1(c), Triumphant Gold Limited (“TGL”) hereby files this

 Witness and Exhibit List, and designates the following witnesses and exhibits for use in connection

 with Motion for an Order (a) Authorizing a Public Auction for the Sale of Certain Assets Free and

 Clear of All Liens, Claims, and Encumbrances, (B) Approving Procedures for the Solicitation of

 Bids; (C) Approving the Stalking Horse Bid and Related Bid Protections; (D) Authorizing the Sale

 of Assets; and (E) Granting Related Relief [Dkt. No. 44] to be conducted on September 16, 2019

 at 9:30 a.m. (the “Hearing”).




 TGL’S WITNESS & EXHIBIT LIST FOR SEPTEMBER 16, 2019 HEARING                                PAGE 1
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                                                      WITNESSES

              TGL may call the following witnesses to testify at the Hearing whether in person or by

 affidavit, declaration or proffer:

     No.                                                   Description

     1.       Ramesh Pamani by deposition;

     2.       Any witnesses called or designated by any other party;

     3.       Any witnesses necessary to rebut the testimony of any witness called or designated by
              another party.


              TGL reserves the right to amend and supplement this witness list.


                                                       EXHIBITS

              TGL may offer into evidence any one more of the following exhibits 1 at the Hearing:

      TGL                                                   Description
        No.
     1.         Rooftop Group USA, Inc., JP Morgan Chase Bank, N.A., 2018 Bank Statements
                (Account No. XXX2495) [Rooftop Singapore_000100-000279]

     2.         Rooftop Group USA, Inc., JP Morgan Chase Bank, N.A., Bank Statements for 2019
                (Account No. XXX2495) [Rooftop Singapore_000280-000345]

     3.         Asian Express Holdings Limited Bank Statements

     4.         August 1, 2019 Hearing Transcript

     5.         Rooftop International Pte. Ltd 30(b)(6) Deposition Transcript dated July 19, 2019
                [TGL_000407-629]

     6.         Rooftop Group International Pte. Ltd. First Meeting of Creditors Transcript dated
                June 7, 2019 [TGL_000002-94]




 1
     Each exhibit listed includes any attachments or exhibits thereto, unless otherwise noted herein.

 TGL’S WITNESS & EXHIBIT LIST FOR SEPTEMBER 16, 2019 HEARING                                               PAGE 2
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  TGL                                             Description
    No.
 7.         (a)    Trademark License Agreement dated February 14, 2019 between Rooftop
            Group International Ptd. Ltd., and AMAX Industrial Group China Co. Ltd. [Rooftop
            Singapore_000430-000438]

            (b)   AMAX Side Letter dated February 24, 2019 [Rooftop Singapore_000439-
            000440]

 8.         Ramesh Pamani Deposition Transcript dated September 10, 2019

 9.         Declaration of Fernando Torres

 10.        Transfer Worksheet [Rooftop Singapore_000099-000099]

 11.        Rooftop Group International Investor Presentation Appendices Spring 2018 [Rooftop
            Singapore_000025-000035]

 12.        Any exhibits designated by any other party


          TGL reserves the right to amend and supplement this exhibit list.

                                  RESERVATION OF RIGHTS

          The foregoing witness and exhibit list is being submitted based on information reasonably

 available to TGL at this time and without waiving any objection as to relevance, materiality, or

 admissibility of evidence in this litigation. TGL reserves the right to ask the Court to take judicial

 notice of pleadings, transcripts, and/or other documents, and to supplement or amend this Witness

 and Exhibit List at any time before the Hearing.




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  Dated: September 13, 2019                        Respectfully submitted,

                                                   /s/ Katharine Battaia Clark

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                                                   Britton D. McClung
                                                   Texas State Bar No. 24060248
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                                                   ATTORNEYS FOR TRIUMPHANT
                                                   GOLD LIMITED


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing instrument has been

 served electronically via the Court’s ECF noticing system on those parties who receive notice from

 that system on the 13th day of September, 2019 via electronic mail.



                                                             /s/ Katharine Battaia Clark
                                                              Katharine Battaia Clark




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